          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:04CR190


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )           ORDER
                                           )
                                           )
THOMAS L. JACOBS                           )
                                           )


      THIS MATTER is before the Court on the Defendant’s pro se motion

to “defer financial payments while incarcerated.” The motion is denied.

      The Bureau of Prisons has the authority to place a defendant in the

Inmate Financial Responsibility Program based on the wording contained

in the criminal judgment. United States v. Watkins, 161 F. App’x 337 (4th

Cir. 2006); Bramson v. Winn, 136 F. App’x 380 (1st Cir. 2005). Prior to

seeking relief from any court concerning obligations under that program,

the defendant is required to exhaust all administrative remedies through

the Bureau of Prisons. McGhee v. Clark, 166 F.3d 884, 885-87 (7th Cir.

1999). Thereafter, a defendant may challenge such payments but only by

filing the appropriate pleading in the district court of confinement, not with




   Case 3:04-cr-00190-RJC-SCR     Document 159     Filed 03/23/07   Page 1 of 2
                                      2

the sentencing court. Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir.

2002); Moore v. Olson, 368 F.3d 757, 759 (7th Cir. 2004).

     Additionally, because the Defendant’s case is presently on appeal,

this Court has no jurisdiction to issue a ruling on his motion. Defendant is

further advised that he may not file pro se motions with the Court since he

is represented by counsel. Any matter warranting the Court’s attention

must be filed through his attorney.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

“defer financial payments while incarcerated” is hereby DENIED.


                                      Signed: March 22, 2007




   Case 3:04-cr-00190-RJC-SCR    Document 159    Filed 03/23/07   Page 2 of 2
